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UNITED STATES-DISTRICT C()URT
FOR THE DISTRICT OF COLUl\/IBIA

hennigan n. Pn'tnnsoit,

Personal Répreswwdve

Of 'I`he Estt`t£e Of -

.Ian:res C. K`nip§)le (Deceased}, et al. l
l P§nintiffs ~ -

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m Civii Actinn#l:iilCV(}ZBQ¢i(RCL)

T_HE ISLA&/HC REPUBH|C OF ]RAN, et ai.

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Defentia_nts 1
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nni»o_nr on snncranmssrnn
Pnnsnaiyr re onnnn on nnnitnnncn
centennan covers en fre cent

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in ac§:o_rdance with the Drder of Referenee entered plnsuant te the prewsinn`sof Pederai

Rnle 53, th ' Speciai Master has received eyidence with regard to 331 issues et cciinpensatery

damages fter|n witnesses as bein_w set forth ’t’his is an action for winngiiii death resuhing from an

 

aet- ei` state l nsnred terrorism ’I`iie following findings ni` feet are based upon the sworn testimony
and documents entered into evidence rn accordance with the Federai Ruies of Evide%& and have

been estabhsi\ie<i by steer and convincing evicienee 1

§ d ` nageiorir

 

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1 Wiilihin Scot_t Sornnierhof was born on Ianuary 13,1953 in the Unites States of Ainerica

and was at birth and remained until his seath, a citizen ofthe Un_ited States Soon after completing

college 311 th'e NROTC program at the Univers'ity of iiiinois, Mr. ’Wiiliam Scott Somtnerhofjoines

the listed Siaras Mariae Cerps and as october 23, 1983 was a member er the 24tag MAU, tier

Battaiion, SU: Regiinent.

2- On {}ctoher 23, 1983, the building housing the Marine B_attaiion at Beirat was attacked by a

suicide heather operating a truck which penetrated to the center of the building where the operator

setonates a fargo explosive charge compietei§r_ coliapsing the building resulting in the deaths 0f241
1

Ainerican Service personnei, including this secedent.

3-_ As a resist of the explosion decedan Wiliiam Seott Sonnnerhot; suffered severe injuiies

 

aaron assist is as sears

4. 'I'he siiiiciai service death sertiiicatej admitted as an oiii_ciai record, indicated that the death

ofthe seized¢lgit was due to a terrorist attack at Beirnt, Lehanon on October 23, 1983.

5_ ’i`herel[` is no evidence horn Which the S_pcciai Master tall make any finding that

the decedent

| _
an`eres bosin pain or suffering as a resuit of his injuries and death appears to have been

i
instantaneous

|
6. As a esuit of the death of'\iifiliiain Scott Soninierhoi; his estate suffered a ioss of accretions

'i`hese losses "

to the estate|:hich cents have been expected to occur during the course `oi` his anticipated life

Pa.ige’s testir!nony given by 1tri-f.ieotape. ’l`hey have been reduced by Dr. Paige to pr 5

e the subject of a report under oath front Dr. .i`erome Paig_e and are supported_.hy Dr.

_ trains in

 

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accordance With Bist_ric_t of Coiunibia _v. BM` 399 AZd 563 (D.C. App. 1979), Bzised uponthe

foregoing the amount of_ioss to the estate is in the amount of $1,361,962.

’F. As tire result of the death ofWiiiiani Scott Sommerhot; his parents and his sortiving sibling

have so&`ered axis Wi_li continue to su:d'er severe mental english and the ioss of

society The

testimoay estabiislied diet Wiiiiain I. Soinieeiiiof and Ioeeiyn J. Somineiiiof,= decedent’s parents

have never 1§ecosered from the shock of their son’s death7 likewise his brother, Ioiin
Further the i§leeedent’s parents and brother suH`e_red severe emotional trauma kern V
Sonirnerhot"§o death in Beinit. ’I`iie parents of the deceased have attended the dedi<
memorial ai§d the event marking the_twentieth anniversary of the bombing in Bein
They have re§ceived some comfort in attending these events and communicating with

that have ex§peiieeced a simiiiar Ioss_ Tiie Soramerhot`s are not yet participants in

.Soinme'rliof.
iiiliam Scott

iation of the

itt, Lei)anoe.

other people

any support '

programs foi§ Victims of the Dctober 23, 1983 bombing hot they are supporters of these programs

The. emotion|al trauma is significant as to each person
ii assess r. somewhat se decedents raises misses he aaa a arose

emotional relationship with his oldest son Wi}l_iaei Scott Soinmerlrof. Mr.

parental and

liSomnzeritof

enjoyod his son’s athietics, inciuding. competitive wirestlingo and participated.with his son in

camp§lrig, hunting target shooting and canoeing. Mr. Sornnierhot; his son, Wiliiam S_cott,

took, § and other famiiy members took pleasure in &equent-_ visits to the-decedents

grand§;arents’ farm enjoying a host of activities there As a father,. a Korean War Veteran,

and niembe <>f a omits of veterans aec sommasofmek gmi paris iii his seas steering

his B:§.\ccaiaureate ia economics dorn the Ueisersity of illinois with a schoiarsiiip dorn-tire

NRO'§I’C program M. Sor_nmerhof' believed his son’-s acceptance into the NRGTC

program was an honor based on ACT- score and physieai condition He Was proud his son

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decided to join the Marine Co_rp, fo!iowing in the tradition of many family members whom

had joined the militaxy including an uncle that died in Viemam. He was proud that his son

entered the Masines ss s Second Lientenant and soon became a First Liet,tenant. Mr.

Somdler'hoi` heiieved his son wouid he safe asa Mariae in that our oountzy enjoyed

peaeetime during his tour of duty
N[[r Sommerhof had three sons but was especiain close with his oidest

Sedttir Mr. Son)merho£. having spent aimost his entire career as a guidance

son Wiiiiaal

deanin the

Sprin'r-gtieid, ii]inois, plith schooi systth was ciose with his son W`diiaan Soott and

admi;:ed his sensitivity_and wiI]jngness to help his father, brothers and others Wii`liam

 

Scotd_ even wanted to discuss and participate in his father’s career problems because he

cared and wanted to help hint lt` Wiliiam Scott had not wanted to make the

eareed MI. Sommethofheiieves he would have made a great gidd`anee eoanseior.

Mariees his

W;Ihen Wiiiiam Scott Sonnnerhof Was killed in the bombing in 1983 it Was just a year

and doe month alter his younger brother was killed in a car accident Mr.
expedienced the death of two of his three sons within a fourteen-month peri

devastated by the loss of Wliiiam Soott §eeaz.ise he thought he was on a §

_ _Sotnmerhof
od. He was

eacekeephig

mission and not in danger. Wdiiam Seott wrote aimo_st daily letters to his famil -, many

timesi including photographs Mr. So:nmerhof felt he knew what Wiiiiatn Sco_tt was doing

in Beaut and did not fear for his safeth Mr. Sonnnerhofwas proud that Wdliada Scott was

a leader and respected by his senior o$cers and men alike He was aiso a counselor to his

men, a talent Whieh MI_ Somrnerhof appreciated

It§ was Sunday morning when Mr- Sommeri)of first heard about the bonahing ot` the

harraeks in Beirot, lebanon He_was watching television and saw it on tile news Just iike

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when he found eu£ iris middle soii, ;Eric, died iii a car aceident, his Wii`e, J<icelye;=, was a
shares Mr. Sommerhof turned off the television and went to the church to hall his wife
Theyg immediater remed horse to Wateh the news They hope£i and pre eci their son
misz rae bombisg se they anew where his room me in tie smoke m deep down
amy knew s ms wilkey he simms several says rare they earned set sea sen aaa
been yiriile<i. The Mariries came to the house and Mr. Semmer_hof dees not remember much
becel;hse he Was iii shock He said it Wes iike everyone has seen iii the movies when the
ur)ifcirmeci Mariiie came to the door and told them of their sen’s death
'fihe Marines, neighbors §~ierids, and famiiy Were ali Very\ supportive Mr `Somrner§lof
seas traumatized by the news of his son.’s death The &mily had just experienced the
tragedy of the ioss oi`their middle son, Eric, and the loss of 4zglieir oldest son,_ Wiliiam Scott,
Was i100 mueh for Mr. Sommerlioi`to bear

T]ie Sommerhefs Went te the airport to meet their son’s body There Were litany people

 

there §ieiids, stran;gers, and the media Tiiey saw their son’s flag diaped coi`iin
accon;npanied by a young Maziee friead. Tiie iiieeral Wa,s rarely ceremonial and the bmiai
Was iiiithe military cemetery in Springfield.

T§he Sommer}iofs are, end Were, a very close iemily. Mr. S_ommeriicif has never

reco\iered from the death of his oidest son. He misses Whai certainly Would have been an

 

extreiiieiy close fairer-son relationship Every hoiiday they talk about Wiii_iam Scott end

cry ogirer the less The more than seventy years since his éeaih have not iesseli g the pain of
la _

the I¢J|iss. Mr. Semmerhofhas not handled his son’s deth

l .
bi heein I. Soirnneriiof is William Scett Sor:mierhof’ s mother. Ms_ So\TmeriiofWas

 

said tie be the strong one in the famiiy. Siie Was raised to face things head of and that is

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What- she did She is quite practical and stoic but it is obvious that the death

et her oldest

son Williani Scott was more than she could handle She Was in church on Suntia , October

23, 1§983, when her husband came into the church and she knew by the iook on
saine§ inch she had seen When he caine to church to tell her that her middle s
that something happened to Williarn Scott.

§ Much of What happened the near few hours and days is a hint to Mrs.
As sc§)en as she returned horne and saw the pictures of the bombing in Beirnt

she lr§iew there Was no hope for his survival 'I`hey knew exactly Where his ro¢

line reee, are

en res ered,

:Sornrnerhof
on television

')ni Was from

|
photographs he had sent horne and front Where the truck carrying the explosives entered the

bearing see teeee ser see res area nee they san area re sen eete eelee aepe beeeeee

they had not heard anything from the Marines.
l

a yea:§" and a month earlier She never thought that anything Would happen to V

, Mrs. Sonnner_liot` had just iosr her father in Septernber 1983 and the middle son Eric

iiilliatn Scett

seees;ee are henry see eeeeee eeperieeeee eegeey. she meager see seen esser needle
§§

son v§_¢as enough tragedy for one family to cope Wit_h and never expected t<

5 be needed

anotl:§hr tragedy that they could not handle 'l`_hen her father died And then Wiiiiam Scott

wee §eiied. tile three deena eisen reeseee meerhe re eereeeh§eg. neal

So ‘erhot` will never recover. As strong as she is the shocking loss of he

eisen lane

r` oldest son

devas§ated her. There Was never anyF indication that there Was any danger in the almost

daily §et-ters tiiorn Willianr Scott. Aiter all, her son was on a peacelreeping nii
aid e§c even have series re area geee.
§ Williarn Scott”s was planning to get married Ilis nance refined to bel

Was dead. She came down and Was with the family awaiting for news The

 

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ssion_ They

ieve that he

Sonlrnerhoi`

 

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reese received eewe er lessee sees when the srae'eee eased re reese reel see he wee
missing in action ’l`hen rn about four or live days the Marines came to the r§oor With the
news that he Was killed Walting for Word en her son the few days seemed lik§e an eternity.
After§ learning that Williain Scortt had been killed they received letters he har§ written just
days before the bombing "l`he receipt of the letters continued to exacerbate tile incredible
sadne§ss of the less

Mrs. Sommerhof does not harbor any hatred for the lran_ians. The lo§ss cannot be
reese err dear rre re geee re eee, ser only agreeing eee, eee her greeseeaeeee. rae
impa§ct of it never stops And it will go on because his name comes up at family gatherings
eee rare ere sees erie are hare eeee see eis eee ir wis always be e peer er them ree
impair never stops The Marines meant a lot to Scott and he Wanted to do this since lie was
a little hid- But Mrs Soinnrerhofwas net prepared for the sudden and unantiei§pated loss of
her o|ldest son W_illiani Scott was the steady one, the Hrst son they would have always
deperided orl, and they believed he Was always going to he there for them Wrth all of her

strengthj Mrs. Somnierhot` depended on Willi-_arn Scott, perhaps more than anjrone else in

 

the ta'rhily.

c.§ lohrr Somrnerhofwas Willianr Scott. Sonrmerhof_’s youngest brother lohnwas very
close with his oldest lbrother even though therewas an eight year age ditl`erence. As they
got older they became even closer and Jolnr is sure that would have scrutinized had his
brother lived In fact, the_three Soermerhot` sons Were Very close All the Sorn_merliof boys
Were iithletes. Thete Was a tradition of Soa:rmerhofwrestles in Springlield- because William

S'cott got them into it. They Would always do things together including going camping and

 

canoe§ng with their father Williarn Scott Was a great brother, a §'ien_d,- and a role model

 

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Iohalme'tthishretheralwayswantedtebeinthemilitaryandmakeithisca:i`

lobe net his patents Were apprehensive about William Scott being in Beirutl

showed a sense of security and almost heredom of the day-to~day romine He`

them:eet having loaded Weapoas. fils death was a shock l

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'eer. Neither

His letters

spoke about

_ lohn was at home when learned cfheml)iag attack His mother came add Wol:e him

up aaa said the evading fha team soon ms saying in was been up ana

they did net

latest if he is okay They watched the news together. The news of the hemhiag and

watching the coverage en television etushed his parents3 lhe net knowing and

thinking the

Werst, Was uabeatahle for the family lt Was a Very quiet.kind of surreal day. People called

’l'.’he diem Was the awaiting and not knowing

l lt Was two days before they get a call from Marine_s that his htcther was missing and

full Elve days before they came to the house and o&cially told the family that V

iilliam Scett

had dt'ed-. la the §tst call the Marines told his parents the building was blown ap by a truck

aged and a 1a emma has died ana ala shea soon was missing
lolm Was devastated by his hrcthefs death No words ca11 describe

When; he heard William Scett Was killed evea though they suspected he Was

they teceived ehdcial notification As edd as it may seem, kahn felt it was aid

;`aow he sea

Fdead hefo_re

§relief when

they l|_eareed he had died and the hope Was gone ’f'hey could get;,_oa with the grieving.

!
’l`hey thd net have the aasz as to Whe or Why. At that time it was net commonplace like

tenhrlsm has become today

Whea Marines came Bve days later to see his parents they called to sa

coming oat. The. car pulled up and they Watohed the .Maxine get out and come

jr they were

to the front

does :It was very formal setting He remembers his mother & &ther breaking down and he

 

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n Case 1:Ol-cV-02094¢RCL` Document 63 Filed 11/16/05 Page 9 of ltl
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t l
too broke down lt Was_ a very traumatic event They Were_ a moss His brothers remains

reiterated in over a week The iilaeral services Were filled with pomp and circumstance The

 

Marines flew the body into Capital Airport the media and people they did not know Were
therel, loan remembers how they rolled the casket containing his brother’ s the body out of
the platte and into the house Hi.s family and Bieitds were around Comp strangers
camei to the visitation to pay their respects to Williarn Scott. _The processioa to the initial
site sites most sorreal because people lined up on the streets It was a very strange thing to
expeii‘ienoe because this tires his hether but it Was also a public and historic event in
Spria*glield that the Somnierhof family Was thrust into Frie_nds Were devastated and many
of thta named their children after him: Williaai Scott. liis parents are strong people His
other|_-hrother Eric died a year before and they made it through it because they are strong
they base a lot of good diends, they have their faith in God and they are a really close
familiy His grandfather died and the family made it through it. But his family has not
made it through the death of William Sco_tt

 

 

i flth took the death of his brother exceptionally hard He tried to r n to college
hut ttas unable to continue lt hurt his relationship with his parents at the time lohti left
Gollei$e arid joined the Coast Guatd. The loss of his brother affected J'clm deeply and he lost
hims¢:elf_ Being iii tire Coast Gua:rd gave Johii the time to try to make peace stith die loss.
He reinsured to school and graduated with honors

' Everyday loan thinks of his brother and more so now since 911 and with other
numetous terrorist acts around the Wodd His brother 1areas a peacekeeper and wrote in his

letterit: ‘°Blessed are the peacemalrers.”

 

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lohn has three children and feels that they have been robbed of the logo and joy of

an older uncle to play Wit.h, to look up to, like most people have ’£’hey will no have a place

to visit and cousins to visit and he good §iends auth l

QONCLUSIONS (}F LAW

(1) Virongful Beath,
'l`he E!’laintiffs produced comprehensive testimony from Dr, Jerome Paige- detaling the loss
of accretions-to the estate of each person These calculations are conservative and the-amounts set
forth in the !ireport have been established nuthmtt question The Special Master concludes as a
matter of latin that judgment should be entered for this element of damages for the Estate of
William Scotit Sommerhofin the amount of $1,361,062.
{23. same nation _ ran aaa sueeaag.
Therei is no evidence from Which it could he concluded that the decedent endured bodin
para aaa wearing aaa the mack and prior re eis dean
(3} stream

The Foreign Sovereigo lmmunities Act provides for an award for solatium consisting of

 

 

emotional migry inflicted upon persons other than the decedent by the actions of the-defendants
and/or their agents As the Court noted in the w case, id;, this is an item of daraages which
belongs to thg indivich:¢al heir personally mr injury to the feelings and loss of decedent’s comfort
and society The unexpected quality of a death may he taken into consideration in gauging the
emotionai impact to those left behind la this case the impact upon the parents and ahlings was

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rage merit \!

 

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devastating The Speetal Master concludes as a matter of law that the followingt*amounts are
appropriate compensation for this element of damages. To Mr. William Scott Somm :hot”s mother

locelyn J. Sommerhof, ten million dollars (310,000,000); to MI. William Scott ommerhof’s

father, William J. Sommerhof, ten million dollars ($10,000,000); to Mr. V&illiam Scott_

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SotmnerhoF-S brothet, john Sommethof, five million Dollers ($5,000,(_)00) "

Date: Juiy 26, 2005

   

 

 

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